cach 2:21-cv-09036-DSF-GJS Document 15 Filed 11/22/21 Pagelofi Pag@gié:9

Co A ND Nn ff. WW NY KF

NM bho bP HN HN KN KN NHN NO RRR RRR OO Rr Rr RR
on nn Ff. WY NYO KF CO UO WAN WD A ff. WW NYO KF CO

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

JAMES JOHN RANGEL,
, Case No. 2:21-cv-09036-DSF (GJS)
Plaintiff
V. JUDGMENT
FULLERTON POLICE
DEPARTMENT, et al.,
Defendants.

 

 

Pursuant to the Court’s Order Dismissing Action Without Prejudice,

IT IS ADJUDGED that the above-captioned case is dismissed without

prejudice.

DATED: November 22, 2021 iC) f.. )
AN ave 2 hp -_ le aCe
Honorable Dale S. Fischer
UNITED STATES DISTRICT JUDGE

 
